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IN THE UNITED STATES DISTRICT COURT jAN 9 8 - pw
FOR THE DISTRICT OF NEW MEXICO . 2 & 1997
CARL WILSON, an individual,  ) Case No. CIY, 84 292,36. Bt AF
and AUDREE WILSON, an )- . SLERK et
individual,
Plaintiffs, )
)
v.
HARPERCOLLINS PUBLISHERS, )
INC., a Delaware corporation, }
Defendant. }

 

 

ORAL ARGUMENT REQUESTED BY PLAINTIFFS

 

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I. INTRODUCTION AND SUMMARY OF ARGUMENT

Defendant HarperCollins’ motion to exclude the expert
testimony. of communications professor Marilyn Lashner, Ph.D.
relies upon a distorted account of her conclusions and analysis,
to argue that they are not a proper subject of expert testimony,
and that she lacks the expertise necessary to make the
conclusions.

Contrary to the impression created by Defendant's discussion
of br. Lashner’s testimonial history, the method of content
analysis Dr. Lashner employs in this case has been admitted by
several courts and meets the requirements for admissibility under
Federal Rule of Evidence 702. Defendant correctly cites cases
wherein Dr. Lashner’s testimony was excluded, but the motion
ignores the fact that in those cases either an entirely different
mode of content analysis was utilized (a statistically based
method, in contrast to the straightforward documentary analysis
 utdlized here), or there were other important distinguishing
‘factors. Moreover, the fact that some courts have not admitted
‘content analysis is not. controlling for legal reasons as well.
The United States Supreme Court’s decision in Daubert v. Merrell
pow Pharmaceuticals, Inc., 509 U.S. 579 (1993), eschews decisions

based on the judge’s perception of what is a mainstream or a
generally accepted subject of expert testimony:
: “The thrust of Daubert was to wove away from
the focus on ‘general acceptance’ as gauged

‘by publication and the decisions of other

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_ gourts’’ and ta focus on whether ‘an expert’s
testimony both rests on a reliable foundation

> and is relevant to the task at hand.‘".

- Auvil v. CBS "60 Minutes", 836 F. Supp. 740, 741, 21 Media L.

Rptr. (BNA) 2059 (E.D. Wash. 1993) (denying plaintiff’s motion to

‘strike the opinions of defendants’ expert) (emphasis added) ;

aff'd, 67 F.3d 816 (9th Cir. 1995), cert. denied, 116 S. Ct. 1567

(1996) .
The. tone of Defendant’s motion unjustifiably maligns the

_ academic discipline ef communications analysis, and the expertise

of Dr. Marilyn Lashner. Defendant's motion asserts that content

analysis is an academic discipline “apparently originating" from

attempts by ecclesiastical authorities to ferret out heretical

beliefs and sentiments from written works. The motion is silent

on the development of the discipline throughout the 20th Century.
Defendant’s couching of content analysis only in terms of ite
primitive, historical beginnings is akin to describing medicine
only in terns of its outgrowth of barbers’ use of leeches.
Rule 702 expressly allows for the admission of expert
testimony beyond what are considered the classical sciences:
| "The rule is broadly phrased. The fields of
- knowledge which may be drawn upon are not
limited merely to the ‘scientific’ and
‘technical’ but extend to all ‘specialized
knowledge. Similarly, the expert is viewed,

not in a narrow sense, but as a person

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qualified by ‘knowledge, skill, experience,
training or education. ‘"

Advisory Committee's Note on Fed. R. Evid. 702. A profusion of
textbooks, articles, scholarly studies and academic conferences
worldwide have been devoted to the development and use of the
content analysis in the 20th Century. The fact that content
analysis is a recognized field is shown by the curriculum vitae
of Dr. Lashner, which was submitted with her expert report
[attachea as Exhibit 7], as well as the attached Declaration and
curriculum vitae of John M. Kittross, Ph.D., former Dean of
Emerson College {attached as Exhibit 1}, and the History of
Content Analysis attached as Exhibit A to the Declaration of
Marilyn Lashner dated January 13, 1997 {attached as Exhibit 2].

In none of the cases cited by Defendant, or indeed in any
case, have the qualifications of Dr. Lashner as an expert in
communications and content analysis been rejected or impugned.
{Affidavit of Marilyn Lashner, dated January 11, 1997, attached
hereto as Exhibit 3].
qr. sue DR. LASHNER’S CO SIONS AND THEI ; CY

Dr. Lashner employs content analysis to make conclusions
regarding:
| (1) The defamatory meaning: of the passages sued on. Her
conclusions and_ underlying analysis are helpful to the jury’s
determination of the issues of defamatory meaning and the general
damage to reputation and emotional distress caused by the

passages. Dr. Lashner’s classification of the various defamatory

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information communicated by the statements sued on provide a

‘ . useful rubric for the jury’s own analysis. [See page 3 of Dr.

Lashner’s Affidavit dated December 2, 1996, attached as Exhibit A
to Defendant‘’s motion, and pages 3-5 of Dr. Lashner’s

accompanying Report and Analysis, attached as Exhibit B to

_Defendant’s motion].

As discussed below in more detail, Dr. Lashner’s content

analysis is precisely the type of analysis that was accepted in

Weller v. American Broadcasting Companies, Inc., 232 Cal. App. 3d
991, 1007 (1991) on the issue of defamatory meaning. Further,

| Dr. Lashner’s own use of this type of content analysis to assess

defamatory meaning was accepted in James Robinson, et al. ve
Capital Cities/ABC, Inc., Case No. 90-673728 (125th Judicial

District Harris County, Tx. 1992), see declaration of counsel

therein, Robert Bennett, Esq. attached hereto as Exhibit 5, and

in Henry G. Fieger, Jr... M.D. v. New Times, Inc,, Case No.

gi CV 8484 (District County, City and County of Denver, Colo.

1993), see declaration of counsel therein, Daniel M. Reilly, Esq.
attached hereto as Exhibit 4.

Defendant’s motion mischaracterizes Dr. Lashner‘s
conclusions respecting defamatory meaning, by asserting that she
opines on "negative portrayals" rather than defamatory meaning.
Defendant’s argument seens to be that Dr. Lashner’s conclusions
speak to an incorrect legal standard. To the contrary, her
conclusions on defamatory meanings speak in terms of defamatory

meanings, and her cited source material shows that she relied on

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the legal definition of defamatory communication prescribed by
the New Mexico Uniform Jury Instruction, and relevant crininal
and civil statutes and the cases interpreting them (see, ¢.g.
child abuse statutes, and statutes relevant to statemente
concerning Plaintiff Carl Wilson’s duties as trustee of Brian
Wilson’s trust). [See, pages 13-15 of Dr. Lashner’s Analysis and
Report, attached as Exhibit B to Defendant's Motion] 2

(2) Secondly, Dr. Lashner employs content analysis to make
conclusions regarding the impression created by certain passages,
that the Book gives voice to the viewpoint of Bugene Landy and
serves as a platform for Landy, and in contrast disparages Carl
Wilson and other members of the Wilson family.?

Dr. Lashner’s conclusions and analysis focus on the reasons
why these impressions are recognizable to readers (including
HarperCollins’ editors), and explains how a contribution by Landy
comprises part of the Book’s “logic” (a term of communications

analysis which refers to the rational means by which in this case

 

1 ghe place where she uses the term "negative" is in her
discussion of the rhetorical devices used in the Book, and the
juxtaposition of contrasting images of Dr. Landy and Carl Wilson.
This relates to the content analysis which is helpful to the
jury's determination of actual malice and negligence, as
discussed in paragraph number %2," infra.

2 HarperCollins objects to the term giving “voice,” but
the discovery record shows that the HarperCollins’ editors on the
Book use the term "voice”™ to describe the technique by which
viewpoints or sentiments were given expression in the Book.

{[See, e.g. Deposition of Asst. Editor James Hornfischer, p.-
79/1ns. 7-10 and p. 93/in, 15 and Deposition of Senior Editor Tom
Miller, p. 120/in. 12 and p. 135/ 1in.4, all attached hereto as

Exhibit 6.}) The communications term “give voice" is not
objectionable, and can be explained to the jury.

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the Book’s use of the first person voice of Brian Wilson is
reconciled with, for example, the presentation of other
characters’ ‘inner thoughts, and other characters’ actions and
statements in situations where Brian Wilson is not depicted as
being present, or where he ia depicted as not being sane or able
to remember, [See e.g. pages 28-29 of Dr. Lashner’s report and
Analysis, attached as Exhibit B to Defendant’s motion.}] Missing
from Defendant’s attachments are Dr. Lashner’s working papers,
which were served on Defendant, and which detail the specific
passages she reviewed respecting Landy. Those passages include
the alleged! defamatory statements, their context and other
significant! passages respecting Dr. Landy. Although this portion
of her analysis goes beyond the statements sued on, her analysis
respecting defamatory meaning does not go beyond the statements
‘sued on and! their immediate context. Defendant’s assertion to
the contrary is simply incorrect (see fn. 6, infra) .3

The relevancy of this analysis relates to the nuances of
Plaintiffs’ actual malice and negligence allegations. The
textual clues pointing to a contribution by Landy make
HarperCollins’ publication with actual malice and negligence
“more probable . . . than it would be without the evidence."

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_ a Dr. Lashner’s working paper will be separately filed
‘with the Court.

Further explanation of these points can obtained by review
of Dr. Lashner’s Report and Analysis [attached as Exhibit B to
‘Defendant’s motion], by a deposition of Dr. Lashner or at a
Daubert hearing, if the Court determines such a hearing is
necessary. ,

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Fed. R. Evid. 401. They make HarperCollins’ professions of good
faith less believable. As the Court may recall, Plaintiffs
allege that HarperCollins published the so-called autobiography
with negligence and in reckless disregard of the fact that the
Book's purported author (Brian Wilson) was the subject of a
highly publicized pending conservatorship action, which sought,
inter alia, to free Brian Wilson from the detrimental physical
and psychological contro] of Eugene Landy, his defrocked
psychologist. As the Court may recall from the summary judgment
proceeding, ‘Landy was co-owner along with Brian Wilson of the
corporation “Brains + Genius" which was the contracting author
and copyright owner. Prior to publication of the Book,
Plaintiffs warned HarperCollins of not only the conservatorship
action, but also their belief that Landy -- who at that time had
a powerful agenda to defame and discredit Brian’s family so as to
defeat the conservatorship action which sought to unravel his
alleged improper business relationship with his patient, Brian --
was manipulating the text and accuracy of the Book.
. Contrary to the instant motion’s assertion, Dr. Lashner does
not purport to opine on HarperCollins’ ultimate state of mind.
| The recognizability of the impressions created by the Book’s text
does. not. mean that HarperCollins’ editors and pre-publication
7 review lawyers in fact recognized Landy’s contribution (although
in the Book itself, co-author Todd Gold does thank Dr. Landy for
his “support and assistance", as Dr. Lashner notes in her

Report). Dr. Lashner’s Report also leaves room for HarperCollins

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to argue that even if the textual clues ‘were recognized by its
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editors and pre-publication review lawyers, HarperCollins had

some reason to disregard then. The jury instructions given by

_ the Court can allow for such conclusions. Relevant here is the
| ’

- maxim that "as long as a legical basis exists for an expert's

opinion. . . the [alleged] weaknesses in the underpinnings of
the opinion {] go to the weight and not ‘the admissibility ef the

testimony." Compton y, Subaru of America, Ing. $2 F.3d 1513,
1518 (10th Cir. 1996), cert. denied, 1996 U.S. LEXIS 7707.

Defendant's critique of Dr. Lashner’s reference to Brian.

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Wilson’s ability to remember is not well-founded.. HarperCollins

complains that Dr. Lashner is diagnosing his condition without

: | .
having examined Brian Wilson or being trained in uental illness,

| ‘This wisconstrues her analysis. Dr. Lashner relies on the

statements in the Book itself which state that Brian Wilson

‘suffered from schizophrenia and hallucinations, and statements

wherein his menory loss or drug-induced) unconsciousness. are
- |
expresaly stated. Dr. Lashner is approaching the text as the

average reader would (and indeed how Harpercollins’ editors and
oo , 4

“|

4 the motion’s mistaken assertion that Dr. Lashner’s
testimony purports to read HarperCollins’ mind, may be the result
of the statement in Dr. Lashner’s Report that HarperCollins
"permitted" the Book to be published with these recognizable
impressions. Too much. should not be read into the word

 

“permitted"; it means only that HarperCollins allowed the Book to

be published with these impressions, which is a historical fact:

‘HarperCollins’ permitted publication of: the Book in the face of a

pre-publication warning by Plaintiffs. | A cautionary jury
instruction can address any problem posed by the word .
"permitted." uo :

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prepublication review lawyers did, as suggested by their
testimony that they did not consult a psychiatrist, that they
‘eschewed communicating with the psychiatrist who was conducting
the mental examination of Brian for the Conservatorship Court,
and that they never inquired whether Brian was taking psychiatric
drugs. These are all facts which were presented to the Court in

epposition to HarperCollins’ motion for summary judgment, which
the Court denied, finding that Plaintiffs had clear and
convincing evidence from which the jury could find actual. malice
and negligence).

The ultimate point, however, is that Dr. Lashner’s textual
analysis helps the jury to understand the seeming conflict
between the details presented in the Book, on the one hand, and
the information provided in the Book respecting Brian Wilson‘s
mental illness and loss of memory, on the other hand. Here
again, HarperCollins is free to present evidence that other
information privately qained caused HarperCollins not to have any
doubts as to the truthfulness of the Book and Brian Wilson’s
credibility as the author of this "autobiography".

As demonstrated below, Rule 702 and the cases explaining the
standard for admitting expert testimony firmly support the

admission of Dr. Lashner’s analysis and conclusions.

 

CONT ANALYSIS Jf ADMISSIBLE TO ASSIST THE TRIER OF FACT.

Federal Rule of Evidence Rule 702 provides that “[ijf

scientific, technical or other specialized knowledge will assist

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the trier of fact to understand the evidence or determine a fact
in issue, a witness qualified as an expert by knowledge, skill,
experience, training or education, may testify thereto in the

form of an opinion or otherwise." Fed. R. of Evid. 702 (emphasis

added). If the scientific testimony sought to be admitted is

based on a unique, untested, or controversial methodology, a
hearing is to be held in accordance with the Supreme Court
standard articulated in Daubert v, Merrell Dow Pharmaceuticals,
Inc., 509 U.S. 579 (1993); Compton, supra, 82 F.3d at 1518.
Defendant argues that Dr. Lashner’s testimony should be excluded

without a Daubert hearing, because it is not a proper subject of

_ expert testimony under Rule 702.

A thoughtful review of the case law explaining Rule 702

shows that’ Dr. Lashner’s opinions and analysis are both properly

admitted.5 ‘The Tenth Circuit has recognized that the
"touchstone" of admissibility of expert testimony under Rule 702
is the helpfulness to the trier of fact. Compton, supra, 82 F.3d

at 1518; Werth v. Makita Flectric works, Ltd,, 950 F.2d 643, 648
(10th Cir. 1991); Corneveaux vy. Cuna Mut. Ins. Group, 76 F.3d

1498, 1504-05 (10th Cir. 1996). The Tenth Circuit also adheres

 

5 Reference is separately made to Dr. Lashner’s
conclusions and analysis, because Rule 702 allows for their
separate consideration. See, Notes of Advisory Committee ("Most
of the literature assumes that experts testify only in the form
of opinions. The assumption is logically unfounded. The rule
accordingly recognizes that an expert on the stand may give a
dissertation or exposition of scientific or other principles
relevant to the case, leaving the trier of fact to apply them to
the facts.“

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to the rule that "[dJjoubts about whether an expert’s testimony
will be useful should generally be resolved in favor of
admissibility unless there are strong factors such as time or
surprise favoring exclusion." Robinson v. Missouri Pacific R.R.
Co., 16 F.3d 1083, 1090 (10th Cir. 1994). This is in harmony
with the rule that at trial “the burden is on opposing counsel to
explore and expose any weaknesses in the underpinnings of the
expert's opinion." Robingen, 16 F.3d at 1090 (quoting

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B51 F.2d 540, 544 (Ist Cir. 1988)}. Thus, in Robinson, the Tenth

Circuit rejected the defendant’s argument that the claimed

“overly speculative" nature of the expert testimony made its

‘{ntroduction erroneous. The Notes of the Advisory Comaittee for

Rule 702 contemplate the same; they characterize the expert’s
offering of "opinions" as the “suggesting [of] the inference
which should be drawn..." Fed. R. Evid. 702 Advisory
comnittee’s Note.

A party offering expert testimony need not prove it is
absolutely necessary to the jury's contemplation of the evidence.
In Coxneveaux vy. Cuna Mut. Ing. Group, supra, the Tenth Circuit
explained that the test to determine whether the testimony will

be of assistance looks to whether “the untrained layman would be

qualified to determine intelligently and to the best possible
degree the particular issue without enlightenment from those

having a specialized understanding of the subject involved in the

dispute." Corneveaux, supra, 76 F.3d. at 1504-05 (quoting United

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States v. Rice, 52 F.3d 843, 847 (10th Cir. 1995) and citing Fed.
R- Evid. 702 Advisory Committee’s Note (emphasis added)). And,
in Werth v. Makita Electric Works, Ltd., supra, the Tenth Circuit
explained that the standard in Rule 702 looks to whether the
expert testimony will “assist the trier of fact to understand the
evidence or determine a fact in issue . . ." Werth, 950 F.2d at
648. Accordingly, the standard for expert testimony does not
require that the jury be ignorant of the subject matter.

This point was emphasized in Re Japanese Electronic Products
Anti-trust Litigation, wherein the Third Circuit ruled that the
trial court’s interpretation of Rule 702 as requiring the expert
testimony to be beyond the jury’s sphere of knowledge, was an
erroneous formulation that was "rejected by the drafters of Rule
702." In Re Japanese Elec, Prods, Antitrust Litigation, 723 F.2d
238, 279 (34 Cir. 1983), cert. granted, in part, Matsushita Elec.

Or V, Zenit adio Corp., 471 U.S. 1002, 105 &. Ct. 1863
(1985). oo

This point was echoed in Weller v. American Broadcasting
con’ anies, Inc., supra, a defamation action wherein the
California Court of Appeal approved the admission of expert
testimony by a linguistics professor, concerning how the average
person was likely to understand the broadcasts. The Weller court
thoughtfully. rejects the argument made here by HarperCollins:

'. “Appellants argue that Dr. Lakoff should not
have been permitted to testify on this

subject because the meaning of the language

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used, and its likely interpretation by the
average viewer, is not a subject sufficiently
beyond the common experience of the jury that
expert testimony would be of any assistance.
(See [Cal.] Evid. Code, § 801). They further.
assert that the error was prejudicial because
Dr. Lakoff’s testimony imbued respondents’
interpretations of the broadcasts with the
aura of scientific authority and induced the
jury to substitute the judgment of the expert
for its own.

Appellants’ argument. has some initial
appeal because common sense tells us that the
average juror has experience with
interpreting the English language. However,
section 801 of the [California] Evidence Code
does not require that the jury “be wholly
iqnorant of the ject ter of

. bt} -opini . jer to justify it
admission; if that were the test, little

expert opinion testimony would ever be heard.

Instead, the statute declares that even if

the jury had some knowledge of the matter,
expert opinion may be admitted whenever it

wo it ‘as , e .- It will be

excluded only when it would add nothing at

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ali to the jury’s common fund of information,
i.e., when ‘the subject of inquiry is one of
such common knowledge that men [and women] of
ordinary education could reach a conclusion
‘as intelligently as the witness.‘’
[Citation].

Thus, for example, expert testimony
regarding psychological factors that have
been identified through empirical studies
affecting eye witness identification may be
admitted despite the fact that most jurors
will know from common experience that an eye
witness identification can be mistaken based
on such factors as lighting, proximity and
duration of observation. (citation].

We are persuaded that Dr. Lakoff‘s
testimony provided the jury with information
‘sufficiently beyond its common experience
that it was of assistance in determining
whether the average viewer would have
‘understood the broadcast as implying
defamatory facts. ‘Dr. Lakoff explained that
Linguists are able to identify and e xplain
how certain rhetorical devices or patterns of
speech convey implicit meaning. She then

applied these techniques to the broadcast in

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dispute and elucidated how the context,
information, the choice of words, and the
_ tone and inflection of the speakers, were
ect the v f st. i
of w W _Said e s
implicitiy.
. Although the average juror no doubt
could listen to the broadcast and understand
their meaning, he or she is not as we}}
' equipped as is a linguist to explain the
. disparity between the words expressly stated
and the implicit meaning conveyed. To the
extent that linguistics provides a method to
articulate how and why broadcasts implied
that Weller had sold stolen property to the
de Young Museum at a grossly inflated price,
er any of the other alleged implied
defamatory facts, it. may have aided the jury
' Implicit meaning they perceived. *

‘Weller, supra, 232 Cal. App. 3d at 1007-1008 (emphasis added;
citations and footnotes omitted). The Weller court’s thoughtful
discussion of the standard for admission of expert testimony
under California law, tracks the Tenth Circuit's discussion of

Rule 702, as detailed infra.

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Dr. Lashner’s proposed expert: testimony regarding defamatory
meaning is wholly in accord with the expert testimony admitted in
Weller, for all the reasons emphasized in the quoted text.

Dr. Lashner’s testimony is of assistance because it will help the
jury "to determine intelligently and to the best possible degree"
the explicit and implicit meanings of the alleged defamatory
statements. The evidence will also assist the jury to understand
the various ways in which the statements sued on have the
potential to damage reputation and cause emotional distress.®
Corneveaux, supra, 76 F.3d at 1504-05. In addition, Dr.
Lashner‘s testimony will also assist the jury in determining
actual malice and negligence by assisting the jury to discern
intelligently how choice of words, patterns, juxtaposition of
certain pieces of information, and other factors that provided
recognizable clues as to the alleged contribution by Landy, of
which Plaintiffs contend HarperCollins published in reckless
disregard, and with negligence. The fact that this textual
evidence is only one component of Plaintiffs’ actual malice and
- negligence case is not a reason to exclude the testimony.

The fact that Dr. Lashner’s testimony was rejected in the
Brueqgemeyer Vv. American Broadcasting Cos., 684 F. Supp. 452, 464

 

6 As noted infra, Defendant’s motion is simply incorrect
when it asserts that Dr. Lashner’s analysis of defamatory meaning
impermissibly extends beyond the sued on passages. As page 9 of
her Analysis and Report states, the 27 designated passages she
examined to determine defamatory meanings comprised of statements
designated in the Plaintiffs’ Second Amended Complaint. Dr.
Lashner properly examined the statements in context, as the law
of defamation prescribes. .

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(n.d. Tex. 1988), Wor exing Counci] v. Cos . 715 F. Supp.

 

1259 (S.D.N.¥. 1989) and Fish v. Heatherdowns Club fn,

 

1991 WL 97324 44 (Ohio ct. App. 1991) is not dispositive or even
persuasive because in those cases a different mode of content
analysis was employed: the statistically-based Evaluative
Assertion Analysis. That mode of content analysis begins with
the “raw" sentence as written and ends with a statistical summary
of. the frequency, direction, and intensity of the attitudes
expressed in the original sentences. Through Evaluative
Assertion Analysis, the significant vords ef the original
communication are assigned numerical values in terms of various
perceptual dimensions, which through a long history of
psychological and linguistic research, were found to be primary
in the perception of meaning by individuals. Once the scores for
all significant words are recorded, they are summarized and

. descriptive statistics are. computed for each category and each
linguistic dimension. Where appropriate, probability testing
(i.e., tests of significance) is undertaken for comparisons.
(Declaration of Marilyn Lashner Ph.D, dated January 11, 1997,
attached. hereto as Exhibit 2.}] While the complexity of
Evaluative Assertion Analysis caused the Judge in World Boxing

Council to conclude that the methodology was “virtually
incomprehensible pseudo-scientific jargon," and more unfairly
prejudicial than probative, that conclusion is not relevant
because that is not the method of content analysis employed here

(or in the other defamation cases where Dr. Lashner’s testimony

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was admitted.) World Boxing: Council, 715 F. Supp- at 1264-65.

Further, that Judge's view of Evaluative Assertion Analysis was

 
 

As noted above, pr. Lashner’s testimony utilizes the
straightforward documentary ‘content analysis that was approved in
Robinson, Fieqler, and Weller, supra. Dr. Lashner‘s documentary
content analysis assesses meaning by focusing on such aspects as
rhetoric, logic, linguistic configurations, and communications
theory. Dr. Lashner‘s conclusions under this documentary
analysis. identify both explicit and implicit defamatory meanings
contained in the publication, and explain the role of context and
rhetoric in generating said implicit defamatory meaning. No
statistical analysis is involved. (affidavit of Marilyn Lashner,
‘Ph.D., dated January 11, 1997, attached hereto a8 Exhibit 2-]

In view of the numerous cases. wherein Court have explained
that the. admissibility of expert testimony does not hinge upon
the jury’s ignorance or the jury’s ability to make any
determination without expert testimony, Plaintiffs submit that
‘the decision in Tilton v. Capital Cities/ABC Inc., 938 F. Supp.
| 751 (N.D. Okla 1995), aff'd without elaboration, 95 F.3d 32 (10th

cir, 1996), excluding Dr. Lashner’s content analysis, does not
| reflect a proper application of Rule 702. The District Court of
oklahoma’ s citation to World Boxing coyncil, in which a different
mode of “content analysis was utilized, and its reference to an
- ynpublished Oklahoma case are additional weakness of the

decision. Aliso, there is no discussion of the type of testimony

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considered on the issue of actual malice. The Tenth circuit
affirmed the Oklahoma District Court’s decision, without any

discussion of the issue. Titlon, 95 F.3d 32 (10th Cir. 1996)
Libel plaintiffs are not the only ones to seek admission

of expert testimony respecting communications analysis. In Fong
vi Merena, 66 Haw. 72, 655 P.24 875 (Sup. Ct. Haw. 1982), the
Hawaii Supreme Court held that the trial court erred in refusing
te admit the testimony of a linguistic expert offered by the
defendant in support of the defendant’s argument that the writing
sued on did not carry a defamatory meaning.

Case law in other areas of litigation hesides defamation
recognize the helpfulness of communication content analysis. For
example, in the case Huddleston v. Herman & MacLean, the Fifth
circuit ruled that expert testimony as to the meaning of language
in a prospectus (by which it was alleged the defendants committed
fraud), was properly admitted:

ephis testimonial evidence had a ‘tendency to
make the existence of. - (a) fact. - -
(cansequent) to the determination of the
action more probable than it would be without
the evidence.’ Rule 401, Fed. R. Evid. « + «
‘Even if it embraced an ultimate issue, it was
not for that reason alone objectionable.

Rule 704, Fed. R. Evid. See generally 11
Moore's Federal Practice § 704.10(1) (2d ed.

Supp. 1976). “

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Huddleston yw. Herman & MacLean, 640 F.2d 534, 552 (Sth Cir. 1981)
aff'd in part on other gr., and rev'd. in part on other gr., 459
U.S. 375 (1983), on remand, 705 F.2d 775 (Sth Cir. 1983).
| ‘See also, Duncan v. G.E,W.. Inc., 526 A.2d 1358, 1361 (D.C.
ct. Apps. 1987). (testimony of a linguistics expert admitted to
‘demonstrate that the interpretation by the defendant’s agent of a
lease provision, was reasonable and the ambiguity he perceived
was genuine); Amoco Oi) Co. v, Rainbow Snow, Inc.. et al., 809
F.2d 656, 658 (10th Cir. 1987) (expert testimony of a designer to
show that the visual impact of the parties’ respective trademarks
admitted on issue of similarity); Thibodeau v, Mayor and
Councilmen of Morgan City, 619 So. 2d 595, 598, 1993 La. App.
LEXIS 1613 (Ct. App. La. 1993) (trial court admitted witness‘s
testimony as an expert in “sign interpretation" on issue of
public’s interpretation of warning signs at issue).
| And, in Dodds vy. Surety Indemn, Co., 2 Phila. 611, 1978

Phila. cty. Rptr. LEXIS 77 (Common Pleas Ct. Phila. 1978), the
court admitted testimony of an expert in linguistics as to the
ambiguity of certain text, and the fair and reasonable
“interpretations of the text. ‘The court held that the expert
testimony was properly admitted to aid in the jury's
‘determination of the meaning of a stock option agreement. The
ruling was based, in part, on the expert’s testimony that
"linguistics involves understanding where a single sentence fits
' into the structure of an entire message or an entire document."

1978 Phila. Cty. Rptr. LEXIS 77, *8.

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' For all of the foregoing reasons, the expert testimony of
Dr. Lashner is a proper subject of expert testimony under Rule
702, because it will assist the jury to determine intelligently
and to the best possible degree, the issues of defamatory
meaning, damages, actual malice and negligence. As shown above,
case law provides that doubts as to usefullness of the testimony
are. to be resolved in favor of admission of Dr. Lashner’s

testimony.

 

"Because Dr. Lashner’s expert testimony would be helpful to
“the jury in deciding this case, it should be admitted under Rule
702. However, should the court determine that an additional
: Daubert analysis is required, Dr. Lashner’s testimony qualifies
under that standard.
a The Tenth Circuit has recognized that the Supreme Court’s
decision in Daybert merely sets out additional reliability
factors the Court should consider under the Rule 702 analysis of
relevance. Compton, supra, 82 F.3d at 1518-19. To determine
"reliability, the Court considers (1) whether the theory or
“technique has been, or can be, tested; (2) whether the theory has
‘been subject to peer review or publication; (3) the known or
| potential rate of error; and (4) the degree of acceptance of the
‘theory of technique within the relevant scientific community.

Daubert, 509 U.S. at 593-594.

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br. Lashner‘s expert testimony addresses the field of
content analysis. Content analysis is not a traditional science;
rather, content analysis applies scientific methods to
documentary evidence. However, if the Court determines that a
Daubert analysis is required, application of the Daubert factors
to this case demonstrates that Dr. Lashner’s testimony is
sufficiently reliable. As already demonstrated, content analysis
is not only a methodology, but has been a recognized field of
study spanning two centuries. The precise rate of error in DOr.
‘Lashner’s documentary method of content analysis is not relevant,
‘because, it is not a statistically-based methodology. ‘The text
reviewed by Dr. Lashner and her tally of references are
documented in her working papers (to be separately lodged). The
definitional sources and legal sources she relied on are set
forth in her Report and Analysis (attached as Exhibit B to
Defendants motion) - If after review of these materials, the
court determines that a Daubert hearing on reliability is still
needed, Plaintiffs and Dr. Lashner will make a detailed
presentation respecting the Daubert inquiry at the hearing.
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‘Vv.  GONLCLUSION
For all of the foregoing reasons, Plaintiffs respectfully

submit that HarperCollins’ motion to exclude Dr. Lashner’s

testimony should be denied.

DATED: January ip 1997 espectfully submitted,
| THE ROMERO LAW FIRM

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CERTIFICATE OF SERVICE

I certify I sent via Federal Express a true copy of the
foregoing pleading to R. Bruce Rich, Esq., Well, Gotshal &
Manges, 767 Fifth Avenue, New York, New York, 10153 and William
 §. Dixon, Esq., Rodey, Dickason, Sloan, Akin & Robb, P.A.,
Albuquerque Plaza, 201 Third Street NW, Suite 2200, Albuquerque,
New Mexico, 87103, this 14th day of January, 1997.

“LANGBERG, COHN & DROOZ

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| By: ~ Le Lh Le .

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